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 MARILYN D. GARNER
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 (817) 505-1499; (817) 549-7200 (FAX)
 Attorney for Debtor


                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION

 IN RE                                   }
                                         }
 RYAN SHAWN SCOTT                        }       CASE NO. 23-43301-MXM-13
                                         }
                                         }
 Debtor                                  }

                           DEBTOR’S OBJECTION TO
                    CLAIM NO. 10 FILED BY JEANIE DAVIDSON


                                        NOTICE

        NO HEARING WILL BE CONDUCTED HEREON UNLESS A WRITTEN
 RESPONSE IS FILED WITH THE CLERK OF THE UNITED STATES BANKRUPTCY
 COURT AT 501 WEST TENTH STREET, FORT WORTH, TEXAS 76102 BEFORE
 4:00 P.M. ON THE DAY WHICH IS THIRTY DAYS FROM THE DATE OF SERVICE
 HEREOF.

      ANY RESPONSE MUST BE IN WRITING AND FILED WITH THE CLERK,
 AND A COPY MUST BE SERVED UPON COUNSEL FOR THE MOVING PARTY
 PRIOR TO THE DATE AND TIME SET FORTH HEREIN. IF A RESPONSE IS FILED,
 A HEARING WILL BE HELD WITH NOTICE ONLY TO THE OBJECTING PARTY.

      IF NO HEARING ON SUCH NOTICE OR MOTION IS TIMELY REQUESTED,
 THE RELIEF REQUESTED HEREIN SHALL BE DEEMED TO BE UNOPPOSED AND
 THE COURT MAY ENTER AN ORDER GRANTING THE RELIEF SOUGHT OR THE
 NOTICED ACTION MAY BE TAKEN.




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 TO THE HONORABLE U. S. BANKRUPTCY JUDGE:

        Ryan Scott, Debtor, files this Objection to Claim No.10 filed by Jeanie Davidson (the

 AObjection) and in support thereof would respectfully show the Court as follows:

        1.       This Court has jurisdiction over this matter pursuant to the provisions of 28

 U.S.C. '' 1334 and 157. This matter constitutes a Acore@ proceeding within the meaning of 28

 U.S.C. '157(b)(2)(A), (B) and (O).

        2.       Jeanie Davidson filed Claim No. 10 as a genera1 unsecured claim in the amount

 of $160,850.00 on January 2, 2024. The basis for the alleged claim appears to be for half of the

 amount of alleged community debts owed to various creditors.

        3.       Debtor objects to allowance of Claim 10 for the reason that the there is no legal or

 factual basis to support Debtor’s liability to Jeanie Davidson for this alleged debt.   Debtor and

 Jeanie Davidson were divorced pursuant to the Judgment of Dissolution entered by the Superior

 Court of California, County of Orange on January 27, 2022. A copy of the Judgment of

 Dissolution (redacted) is attached hereto as Exhibit A and incorporated herein.     Except for the

 Domestic Support Obligation for support of the parties’ minor child, the Judgment of Dissolution

 does not contain any obligation for Debtor to assume liability for the debts that are the subject of

 Claim No. 10.

        4.       Debtor further objects to allowance of Claim No. 10 for the reason that the certain

 of the debts asserted on the exhibit attached to the claim do not exist. For example, the amount

 related to the debt allegedly owed to Ally Auto, $18,089.00, for a (Nissan) does not exist. This

 vehicle was titled in Debtor’s name but was sold for an amount in excess of balance owed. No

 deficiency resulted from the sale.   Similarly, the amount related to the debt allegedly owed to

 BofA Auto Loan, $19,284, for a Kona does not exist. Debtor also sold this vehicle for an



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 amount in excess of the amount required to pay off the balance owed to the lienholder. No

 deficiency resulted from the sale. Further, the alleged debt owed to NFCU, $27,577, for a

 4Runner, is believed by Debtor to no longer exist. On information and belief, Debtor believes

 that title to the vehicle was transferred to claimant’s name and has been refinanced or sold by

 claimant.

         5.      To the extent that Debtor may be liable for any debt incurred during the term of

 his marriage to Jeanie Davidson, such debts will be treated pursuant to Debtor’s Chapter 13 Plan.

 Jeanie Davidson does not have separate legal standing to pursue collection of any debt on behalf

 of the creditors.

         WHEREFORE, PREMISES CONSIDERED, Trustee prays that the Court enter an order

 sustaining this objection and disallowing Claim 11 and for such other and further relief that may

 be warranted under the circumstances of the case.

 Dated: March 20, 2024                                Respectfully submitted,


                                                      /s/ Marilyn D. Garner
                                                      Marilyn D. Garner, Esq.
                                                      2001 East Lamar Blvd., Suite 200
                                                      Arlington, Texas 76006
                                                      (817) 505-1499; (817) 549-7200 (FAX)




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                                 CERTIFICATE OF SERVICE

        The undersigned certifies that a copy of the foregoing pleading was sent via first class
 and/or electronic mail to the parties listed below on the 20th day of March 2024:

 Tim Truman, Chapter 13 Trustee
 6851 N.E. Loop 820, Suite 300
 N. Richland Hills, 76180

 Jeanie Davidson
 3023 Prospect Ave
 Santa Monica, CA 90405-3023


                                                      /s/ Marilyn D. Garner
                                                      Marilyn D. Garner




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